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AO 91 (Rev 11/11)    Criminal Complaint



                                          UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Columbia

                    United States of America                              )
                                   v.                                     )
                                                                          )       Case No.
                       James McNamara
                                                                          )
                        DOB:XXXXXX                                        )
                                                                          )
                                                                          )
                             Defendant(s)


                                                        CRIMINAL COMPLAINT
           I, the complainant       in this case, state that the following is true to the best of my knowledge         and belief.
On or about the date(s) of                   January 6, 2021    in the county of                                                         in the
                                     ------------~~------------                  ----------------------
                            in the District of          C~o~lu
                                                           •.•
                                                            m~bl,-,,·
                                                               a,__ , the defendant(s)    violated:

             Code Section                                                           Offense Description
        18 U.S.C. § II I (a)(l)- Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C. § 23 I (a)(3)- Civil Disorder,
        18 U.S.c. § 1361- Destruction of Government Property,
        18 U.S.C.   § 1752(a)(I)- Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C.   § I752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C.   § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.c.   § 5104 (e)(2)(F) - Act of Physical Violence in Capitol Grounds.


          This criminal complaint is based on these facts:

  See attached statement of facts.




         M Continued on the attached sheet.




                                                                                                                               ent
                                                                                                      Printed name and title
Attested to by the applicant in accordance              with the requirements    of Fed. R. Crim. P. 4.1
by telephone.                                                                                                      Digitally signed by Zia M.
                                                                                                                   Faruqui
                                                                                                                   Date: 2022.11.28 17:58:27
Date:                                                                                                              -05'00'
                                                                                                        Judge's signature

City and state:                           Washington,    D.C.                                                                            e
